Case 3:23-cv-03417-VC   Document 562-35   Filed 04/25/25   Page 1 of 10




         EXHIBIT 120
 Case 3:23-cv-03417-VC       Document 562-35         Filed 04/25/25      Page 2 of 10

12/13/2024              Richard Kadrey, et al. v. Meta Platforms, Inc.           David Esiobu
                          Highly Confidential - Attorneys' Eyes Only


                                                                                   Page 1
                     IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA
                           SAN FRANCISCO DIVISION
        ___________________________________________________________

         RICHARD KADREY, et al.,             )
                                             )
                                             )
                        Plaintiffs,          )    Case No.
                                             )
                  vs.                        )    3:23-CV-03417-VC
                                             )
         META PLATFORMS, INC.,               )
                                             )
                                             )
                        Defendant.           )
                                             )
        ___________________________________________________________

                     VIDEOTAPED DEPOSITION OF DAVID ESIOBU
             * * * HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY * * *
                               December 13, 2024
                             Seattle, Washington

        Reported by:
        Connie Recob, CCR, RMR, CRR
        Washington CCR No. 2631
        Oregon CCR No. 15-0436
        Utah CCR No. 1133171-7801
        Idaho CCR No. SRL-1220
        ____________________________________________________________
                           DIGITAL EVIDENCE GROUP
                        1730 M. Street, NW, Suite 812
                           Washington, D.C. 20036
                                (202) 232-0646



www.DigitalEvidenceGroup.com Digital Evidence Group C'rt 2024                   202-232-0646
 Case 3:23-cv-03417-VC         Document 562-35         Filed 04/25/25      Page 3 of 10

12/13/2024                Richard Kadrey, et al. v. Meta Platforms, Inc.           David Esiobu
                            Highly Confidential - Attorneys' Eyes Only


                                                                                   Page 56
  1          post training of Llama models.                                               10:21

  2          BY MR. YOUNG:                                                                10:21

  3   Q.     So would safety -- so would -- so I want to talk briefly                     10:21

  4          about your responsibilities with respect to safety.                          10:21

  5                  So you have done safety work with respect to filtering               10:21

  6          out nonsafe work content with respect to datasets for                        10:21

  7          training of Llama models, correct?                                           10:21

  8   A.     Yes.                                                                         10:21

  9   Q.     Okay.    And would it also be fair that you have also done work              10:21

 10          with respect to mitigating IP or copyright leakage with                      10:22

 11          respect to datasets in the Llama model?                                      10:22

 12                                 MR. WEINSTEIN:     Object to form.                    10:22

 13                                 THE WITNESS:     Some of the work that I've           10:22

 14          done has the effect of mitigating regurgitation of training                  10:22

 15          data.   And, yeah, that's kind of the -- so -- so there --                   10:22

 16          there are things that we would do during the course of                       10:22

 17          preparing data that is generally good for the model but also                 10:22

 18          has the effect of mitigating regurgitation.                                  10:22

 19          BY MR. YOUNG:                                                                10:22

 20   Q.     So, for example, things like deduplication?                                  10:22

 21   A.     Yes.                                                                         10:22

 22   Q.     Okay.   So have you, as a general -- just generally in your                  10:22




www.DigitalEvidenceGroup.com Digital Evidence Group C'rt 2024                     202-232-0646
 Case 3:23-cv-03417-VC          Document 562-35        Filed 04/25/25      Page 4 of 10

12/13/2024                Richard Kadrey, et al. v. Meta Platforms, Inc.           David Esiobu
                            Highly Confidential - Attorneys' Eyes Only


                                                                                   Page 57
  1          work related to the Llama models, have you studied the Llama                 10:22

  2          models' propensity to regurgitate its training model -- or                   10:23

  3          training data?                                                               10:23

  4   A.     Yes.    My -- my evaluations were measuring the rates at which               10:23

  5          I could find generations that match the continuation for                     10:23

  6          certain prompts.                                                             10:23

  7   Q.     That matched the training data, correct?                                     10:23

  8   A.     The continuations were drawn from the training data, yeah.                   10:23

  9   Q.     And you did this for Llama-2?                                                10:23

 10   A.     Yes.                                                                         10:23

 11   Q.     Did you do this for Llama-3?                                                 10:23

 12   A.     Yes.                                                                         10:23

 13   Q.     Okay.   And are you doing -- is it anticipated that you will                 10:23

 14          do this for Llama-4?                                                         10:23

 15   A.     I -- I had planned to, but we're still very much early in                    10:23

 16          the -- in the process.                                                       10:23

 17   Q.     Okay.   Understood.                                                          10:23

 18                                 MR. WEINSTEIN:     Counsel, let me know when          10:23

 19          it's a good time to take a break.                                            10:23

 20                                 MR. YOUNG:    Yeah, I was just going to               10:24

 21          suggest once I got done with this line of questioning.                       10:24

 22                                 MR. WEINSTEIN:     No problem.                        10:24




www.DigitalEvidenceGroup.com Digital Evidence Group C'rt 2024                     202-232-0646
 Case 3:23-cv-03417-VC          Document 562-35         Filed 04/25/25      Page 5 of 10

12/13/2024                 Richard Kadrey, et al. v. Meta Platforms, Inc.           David Esiobu
                             Highly Confidential - Attorneys' Eyes Only


                                                                                    Page 62
  1          data.                                                                         10:42

  2   Q.     Do you know if Meta has done any analysis of whether or not                   10:42

  3          any material included in LibGen is regurgitated by Llama-3?                   10:42

  4   A.     So as part of the memorization analyses that I've done, I                     10:42

  5          would have drawn samples from all of the datasets that we                     10:42

  6          use.                                                                          10:42

  7   Q.     Okay.     Have you yourself seen any regurgitation from the                   10:42

  8          LibGen model -- or from the LibGen dataset from Llama-3?                      10:42

  9   A.     So whatever was -- was accepted from the original LibGen,                     10:42

 10          whatever made it into the model, I drew samples from -- from                  10:42

 11          that portion of the training data, and I think there -- there                 10:42

 12          is, like, a nonzero rate across all the datasets that I                       10:43

 13          tested.                                                                       10:43

 14   Q.     Okay.    So would that be a yes?                                              10:43

 15   A.     Yes.                                                                          10:43

 16   Q.     Okay.    Thank you.                                                           10:43

 17                  Now, in the course of -- I believe you called it NSFW                 10:43

 18          filtering.    And that's not safe for work, right?                            10:43

 19   A.     Right.                                                                        10:43

 20   Q.     So in the course of your NSFW filtering work with LibGen                      10:43

 21          fiction, did you examine the contents in LibGen?                              10:43

 22   A.     Yeah.    So to -- just to make sure that the filtering was                    10:43




www.DigitalEvidenceGroup.com Digital Evidence Group C'rt 2024                      202-232-0646
 Case 3:23-cv-03417-VC          Document 562-35        Filed 04/25/25      Page 6 of 10

12/13/2024                Richard Kadrey, et al. v. Meta Platforms, Inc.           David Esiobu
                            Highly Confidential - Attorneys' Eyes Only


                                                                                   Page 72
  1   A.     So Nikolay Bashlykov would have been the -- the point of                     10:58

  2          contact for this dataset, and so it was likely him.                          10:58

  3   Q.     So do you have an understanding of why copyright notices and                 10:58

  4          legal disclaimers would be removed before the -- during the                  10:58

  5          processing of LibGen?                                                        10:58

  6   A.     So my concern here was kind of the repetitive nature of these                10:58

  7          kinds of notices.    So this is sort of like a form of                       10:58

  8          deduplication to avoid, you know -- to -- to avoid kind of                   10:58

  9          the model, like, regenerating text that it had seen before.                  10:58

 10   Q.     Because would you agree with the general proposition that if                 10:58

 11          a model is trained on repetitive text multiple times, it is                  10:58

 12          more likely to regurgitate that -- that portion of text?                     10:58

 13   A.     I would say yes.    The tests that I run suggests that                       10:58

 14          there's -- there's, like, a strong correlation between                       10:59

 15          repetition and -- in the training data and the rate at which                 10:59

 16          that will be reproduced.                                                     10:59

 17   Q.     And that includes repetition across different files, not just                10:59

 18          within the same file, correct?                                               10:59

 19   A.     Right.                                                                       10:59

 20   Q.     Okay.    So, for example -- and would this also be related to                10:59

 21          the number of epochs a certain dataset would be run?                         10:59

 22                                 MR. WEINSTEIN:     Object to form.                    10:59




www.DigitalEvidenceGroup.com Digital Evidence Group C'rt 2024                     202-232-0646
 Case 3:23-cv-03417-VC          Document 562-35         Filed 04/25/25       Page 7 of 10

12/13/2024                 Richard Kadrey, et al. v. Meta Platforms, Inc.            David Esiobu
                             Highly Confidential - Attorneys' Eyes Only


                                                                                     Page 83
  1          nonzero rate of regurgitation, correct?                                        11:12

  2   A.     It's extremely low.      I would say -- yeah, I don't -- I don't               11:12

  3          remember the exact rates, but it's -- it's very close to zero                  11:12

  4          for -- for the fine tuned ones.                                                11:12

  5   Q.     Okay.   Do you know if sci-tech or sci-mag contain academic                    11:12

  6          textbooks?                                                                     11:12

  7   A.     I -- I kind of like assumed that that kind of thing would be                   11:12

  8          there, but I haven't looked -- looked into that dataset in                     11:12

  9          any detail.                                                                    11:12

 10   Q.     Okay.   And because you didn't do any work related to sci-mag                  11:12

 11          or sci-tech?                                                                   11:12

 12   A.     No.                                                                            11:12

 13   Q.     Do you know how Meta obtained copies of LibGen?                                11:12

 14                                  MR. WEINSTEIN:     Object to form.                     11:13

 15                                  THE WITNESS:     Not in detail.        That            11:13

 16          wasn't -- that wasn't a dataset that I worked on in -- in the                  11:13

 17          kind of like -- I -- I wasn't sort of like -- so each -- each                  11:13

 18          dataset has, like, a person who's directly responsible for                     11:13

 19          it.   I wasn't directly responsible for that.                                  11:13

 20          BY MR. YOUNG:                                                                  11:13

 21   Q.     Okay.   So I understand you weren't responsible for it, but do                 11:13

 22          you have an understanding of how the dataset was obtained?                     11:13




www.DigitalEvidenceGroup.com Digital Evidence Group C'rt 2024                       202-232-0646
 Case 3:23-cv-03417-VC          Document 562-35       Filed 04/25/25      Page 8 of 10

12/13/2024               Richard Kadrey, et al. v. Meta Platforms, Inc.           David Esiobu
                           Highly Confidential - Attorneys' Eyes Only


                                                                                 Page 101
  1   Q.     Okay.   And then can you read for me -- there's a reference to              11:45

  2          you in the next bullet point, correct?                                      11:45

  3   A.     Yes.                                                                        11:45

  4   Q.     Okay.   Can you please read that next bullet point?                         11:45

  5   A.     So this is a response to the question.        It says, "Yes, we             11:45

  6          will follow a memorization measurement engine approach to                   11:45

  7          measure memorization of a 750B model of the IP sensitive                    11:45

  8          data" in parentheses "(LibGen synching with David Esiobu)."                 11:45

  9   Q.     Okay.   So do you see the reference to LibGen's IP sensitive                11:45

 10          data?                                                                       11:45

 11   A.     Yes.                                                                        11:45

 12   Q.     Do you know why Mr. Bashlykov referred to LibGen as IP                      11:45

 13          sensitive data?                                                             11:45

 14                                MR. WEINSTEIN:     Exclude from your --               11:45

 15          exclude from your answer any communications you may have                    11:45

 16          received from counsel, if applicable.                                       11:45

 17                                THE WITNESS:     I don't know exactly how             11:45

 18          Nikolay was thinking about this dataset.        But I would                 11:45

 19          imagine -- I think it was -- it's widely known that it                      11:46

 20          contained books.                                                            11:46

 21          BY MR. YOUNG:                                                               11:46

 22   Q.     Okay.   And not just books, copyrighted books, right?                       11:46




www.DigitalEvidenceGroup.com Digital Evidence Group C'rt 2024                    202-232-0646
 Case 3:23-cv-03417-VC         Document 562-35         Filed 04/25/25      Page 9 of 10

12/13/2024                Richard Kadrey, et al. v. Meta Platforms, Inc.           David Esiobu
                            Highly Confidential - Attorneys' Eyes Only


                                                                                  Page 102
  1   A.     Yes.                                                                         11:46

  2   Q.     Thank you.                                                                   11:46

  3                  Now, did you conduct memorization evaluations of the                 11:46

  4          LibGen model -- or the LibGen dataset with the model                         11:46

  5          consistent with what was described here?                                     11:46

  6   A.     So I ended up not running the memorization evaluations for --                11:46

  7          for these experiments because I had some other projects I had                11:46

  8          going on at the time, and so we didn't actually close on --                  11:46

  9          on these experiments.                                                        11:46

 10   Q.     Okay.   Do you know if anyone actually conducted the                         11:46

 11          memorization evaluation experiments for LibGen?                              11:46

 12   A.     If anyone followed up on these experiments in terms of the                   11:46

 13          impact on memorization, I -- I'm not aware of anyone doing                   11:46

 14          that.                                                                        11:46

 15   Q.     Okay.   So to your -- just to make sure I -- I understand, to                11:46

 16          your knowledge, you're not aware of anyone at Meta conducting                11:47

 17          the experiments to determine the affect of LibGen on                         11:47

 18          memorization, correct?                                                       11:47

 19                                 MR. WEINSTEIN:     Object to form.                    11:47

 20                                 THE WITNESS:     I'm not aware of anyone              11:47

 21          evaluating the checkpoints that -- that Nikolay                              11:47

 22          trained described here.      The -- the tests I've done for                  11:47




www.DigitalEvidenceGroup.com Digital Evidence Group C'rt 2024                     202-232-0646
Case 3:23-cv-03417-VC        Document 562-35        Filed 04/25/25       Page 10 of 10

12/13/2024              Richard Kadrey, et al. v. Meta Platforms, Inc.           David Esiobu
                          Highly Confidential - Attorneys' Eyes Only


                                                                                Page 271
  1                                  REPORTER'S CERTIFICATE

  2

  3                 I, CONNIE A. RECOB, the undersigned Certified Court

  4          Reporter, authorized to administer oaths and affirmations in

  5          and for the States of Washington, Oregon, Utah and Idaho, do

  6          hereby certify that the sworn testimony and/or proceedings, a

  7          transcript of which is attached, was given before me at the

  8          time and place stated therein; that any and/or all

  9          witness(es) were duly sworn to testify to the truth; that the

 10          sworn testimony and/or proceedings were by me

 11          stenographically recorded and transcribed under my

 12          supervision, to the best of my ability; that the foregoing

             transcript contains a full, true, and accurate record of all

 13          the sworn testimony and/or proceedings given and occurring at

             the time and place stated in the transcript; that a review of

 14          which was requested; that I am in no way related to any party

             to the matter, nor to any counsel, nor do I have any

 15          financial interest in the event of the cause.

                    WITNESS MY HAND and SIGNATURE this 18th day of

 16          December, 2024.

 17

                    _______________________________________

 18                 /s/CONNIE A. RECOB, RMR, CRR

 19                 Washington CCR No. 2631

 20                 Oregon CCR No. 15-0436

 21                 Utah CCR No. 1133171-7801

 22                 Idaho CCR No. SRL-1220



www.DigitalEvidenceGroup.com Digital Evidence Group C'rt 2024                    202-232-0646
